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AO 440 (Rev.3/01) Summons in a Civil Acuon

United States District Court

District of Kansas

MAXINE MEHUS

SUMMONS IN A CIVIL CASE

Vv. . CASENUMBER: (}3-2066 KHV
EMPORIA STATE UNIVERSITY
F PoP
TO: (Name and address of defendant) MAY i 8 wd

Emporia State University RALPH L. DeLOACH, Clerk
1200 Commercial Street ye

Emporia, KS 66801-5087

YOU ARE HEREBY SUMMONED and required to serve on PLAINTIFF'S ATTORNEY (name and address)

R. Denise Henning
Henning & Bough, P.C.
1044 Main, Suite 500
Kansas City, MO 64105
(816) 221-8442

an answer to the complaint which is served on you with this summons, within 20 days after
service of this summons on you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. Any answer that you serve on the parties to this action must be filed with the
Clerk of this Court within a reasonable period of time after service.

 

Ralph L. DeLoach,
259 Robert J. Dole Courthouse

 

 

500 State Avenue - 7 (=
Kansas City, KS 66101-2480 May M2003
CLERK DATE

 

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(BY) DEPUTY CLERK

 

 
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AO 440 (Rev. 8/01) Summons In a Civil Action

 

RETURN OF SERVICE

 

_ Service of the Summons and Complaint was made by me’ DATE sf s /200 8

 

 

/
NAME OF SERVER (PRINT) John AF. Schwarz us SAVES gator

 

Check one box below to indicate appropriate method of service

 

 

[ ] Served personally upon the defendant. Place where served: —

 

[| Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age

and discretion then residing therein.
Name of person with wham the summons and complaint were left:

 

 

 

[| Returned unexecuted:

 

 

 

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(Matt All, La wale & on tht GOUlekalar, o Stag

 

 

STATEMENT OF SERVICE FEES

 

TRAVEL SERVICES TOTAL

 

 

 

DECLARATION OF SERVER

 

 

| declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Retum of Service and Statement of Service Pees is true and_corre

Executed on S/ys / 20023

   
  

 

Date i f Si oN server
C* Say”) arn Nu é S00
‘KeDn Pos

Address of Server

 

a) As to who may Serve a summons see Rule 4 of the Federal Rules of Civil Procedure.

 

 

 
